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                    IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO

LOZANO ET AL.,


      Plaintiffs,

v.                                         Case No. 2:22-cv-03089

JOHN DOES I-X; JANE DOES I-X; ABC
PARTNERSHIPS I-X; DEF LIMITED LIABILITY
COMPANIES I-X; AND XYZ CORPORATIONS;

      Defendants.


                              PLAINTIFFS’ EXHIBIT B
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                                         EXHIBIT A

                            DEFINITIONS AND INSTRUCTIONS

For purposes of this Subpoena, the following definitions and instructions shall apply:

       1.      “Communication(s)” means the transmittal, receipt, disclosure, transfer or

exchange of information by any means, and includes any transfer of information, ideas, opinions,

or thoughts by any means, written, oral, electronic, or otherwise, at any time or place under any

circumstances and includes, without limitation, any meeting, conversation, telephone call, letter,

e-mail, telegram, dialogues, discussions, interviews, consultations, agreements, or transfer of

document of any kind whatsoever. The definition is not limited to transfers between persons, but

also includes other transfers, such as records and memoranda to file, any written letter,

memorandum or other document that was sent by one or more individuals to another or others;

any telephone call between one or more individuals and another or others, whether such call was

by chance or prearranged, formal or informal; and any conversation or meeting between one or

more individuals and another, whether such contact was by chance or prearranged, formal or

informal.

       2.      “Concerning,” “Regarding,” “Referring,” or “Related” includes, without

limitation: referring to, relating to, regarding, describing, evidencing, embodying, constituting,

containing, commenting, identifying, comprising, reflecting, discussing, commenting upon,

monitoring, modifying, contradicting, quoting, analyzing, criticizing, describing, creating or

maintaining, bearing upon, or deriving or arising from.

       3.      “Document” and “Documents” shall be construed as broadly as possible and shall

mean or refer to all written, typed, printed, recorded or graphic material of any kind, regardless



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of form or medium, including originals, copies and preliminary and final drafts thereof, whether

printed or reproduced by any process, or written or produced by hand, or stored in, maintained

on or accessible through computers, disk drives, electronically stored information (“ESI”),

magnetic or hard disk or optical storage media as an “active” file or files, electronic files saved

as a backup, social networking sites, Webpages, the Cloud, or any other electronic storage media

or other information storage or retrieval systems, including without limitation program files, data

files and date compilations from which information can be obtained (translated, if necessary, by

You, into a reasonably useable form), together with the codes or programming instructions and

other materials necessary to understand and use such systems. “Document” and “Documents”

also shall include without limitation any “deleted” but recoverable electronic files on said media,

any electronic file fragments, any slack, and/or any metadata. Electronic mail is included within

the definition of the term “Document.” “Document” and “Documents,” whether or not claimed

to be privileged, confidential or otherwise excludable from discovery, shall include but in no way

shall be limited to notes, letters, correspondence, communications, e-mail messages and

attachments, telegrams, memoranda, summaries or records of telephone conversations,

summaries or records of personal conversations or meetings, diaries, reports, laboratory and

research reports and notebooks, recorded experiments, charts, plans, drawings, diagrams,

schematic diagrams, HTML, HDL, Verilog, or other computer code, illustrations, product

descriptions, produce analyses, requests for proposals, documents related to proposed or actual

product improvements or changes, users manuals or guides, installation guides or manuals,

technical descriptions or specifications, product repair manuals or guides, photographs, video

images, software flow charts or descriptions or specifications, product functional descriptions or

specifications, minutes or records of meetings, summaries of interviews, reports, or



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investigations, opinions or reports of consultants, reports of patent searches, patent appraisals,

opinions of counsel, agreements, reports or summaries of negotiations, brochures, pamphlets,

advertisements, circulars, trade letters, press releases, drafts of documents, and all other materials

fixed in a tangible medium of whatever kind known to You or in Your Possession, Custody, or

Control. The terms “writings,” “recordings,” and “photographs” are synonymous in meaning

and equal in scope to the usage of the term Documents. A draft or non-identical copy is a

separate document within the meaning of the term “Document.”

       4.         “Including” or “includes” means including, but not limited to.

       5.         “Information” shall include individual Documents and records (including

associated metadata) whether on paper, film, or other media, as discrete files stored

electronically, optically, or magnetically, or as a record within a database, archive, or container

file, including emails, messages, word processed Documents, digital presentations, spreadsheets,

and database content.

       6.         “Lozano” shall refer to Plaintiff Alexandra Lozano, as well as any person or

persons acting on her behalf, including, but not limited to, legal counsel, accountants, or any

other advisors.

       7.         “Alexandra Lozano Immigration Law” shall refer to Alexandra Lozano

Immigration Law PLLC, and includes and all of its employees, agents, and/or representatives,

including attorneys, accountants, investigators, contractors, consultants, experts, and/or any other

persons or entities affiliated with Alexandra Lozano Immigration Law.




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       8.         “Lisinski” shall refer to Plaintiff Angelyne Lisinski, as well as any person or

persons acting on her behalf, including, but not limited to, legal counsel, accountants, or any

other advisors.

       9.         “Lisinski Law” shall refer to The Lisinski Law Firm, LLC, and all of its

employees, agents, and/or representatives, including attorneys, accountants, investigators,

contractors, consultants, experts, and/or any other persons or entities affiliated with Lisinski

Law.

       10.        “Fantacci” shall refer to Plaintiff Giulia Fantacci, as well as any person or persons

acting on her behalf, including, but not limited to, legal counsel, accountants, or any other

advisors.

       11.        “GF Immigration” shall refer to GF Immigration Law, PA, and all of its

employees, agents, and/or representatives, including attorneys, accountants, investigators,

contractors, consultants, experts, and/or any other persons or entities affiliated with GF

Immigration.

       12.        “Possession,” “Custody,” or “Control” includes the joint or several possession,

custody or control not only by the person to whom these requests are addressed, but also the joint

or several Possession, Custody or Control by each or any other person acting or purporting to act

on behalf of the person, whether as employee, attorney, accountant, agent, sponsor, spokesman,

or otherwise.

       13.        “You,” shall mean Stefania Ramos Birch as well as any person or persons acting

on her behalf, including, but not limited to, legal counsel, accountants, or any other advisors.




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       14.     The terms “and” and “or” shall be construed either conjunctively or disjunctively

as necessary to bring within the scope of the request all responses that might otherwise fall

outside the scope of this request.

       15.     The terms “all,” “any,” or “each” encompass any and all of the matters discussed.

       16.     The use of singular form includes plural, and vice versa.

       17.     The use of present tense includes past tense, and vice versa.

       18.     Unless otherwise stated, the relevant time period is June 2020 to the present.

       19.     Please note that you are required to bring to the deposition all responsive

materials in your possession or control, even if such materials are currently in an electronic

format, including text messages, social media messages, social media posts, or emails. We will

accept printed out copies of emails, printed screenshots of text messages, and printed

screenshots of social media messages and posts at the deposition (though you are under a

legal obligation to prevent the destruction of such materials as they are kept in electronic

form, and we reserve the right to request such materials in electronic format with metadata in

the future)




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                    REQUESTED DOCUMENTS TO BE PRODUCED

   1. All documents and/or communications, including texts messages and social media posts,

      referring or related to Lozano and/or Alexandra Lozano Immigration Law.

   2. All documents and/or communications, including texts messages and social media posts,

      referring or related to Lisinski and/or Lisinski Law.

   3. All documents and/or communications, including texts messages and social media posts,

      referring or related to Fantacci and/or GF Immigration.

   4. All documents and/or communications, including text messages, referring or related to

      the phrase “arreglar sin salir.”




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